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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF CONNECTICUT


 AURACLE HOMES, LLC; FD MANAGEMENT,
 LLC; BUCKLEY FARMS, LLC; ORANGE
 CAPITOL LLC; 216 EAST MAIN STREET                        Case No. 3:20-cv-00829-VAB
 MERIDEN, LLC; BD PROPERTY HOLDINGS,
 LLC; PRIME MANAGEMENT, LLC; AND,
 HABERFELD ENTERPRISES, LLC,
                                                          STATUS REPORT
          Plaintiffs,                                     RE: SERVICE OF PROCESS
                                                          AND NOTICE
 v.

 NED LAMONT                                               JUNE 17, 2020

          Defendant.


       It is the understanding of the undersigned that, on this date, the Defendant was

served. It is expected that the Return of Service will be filed tomorrow.

Dated: JUNE 17, 2020                       Respectfully submitted,

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                                             Attorneys for the Plaintiffs



                                     CERTIFICATION

I hereby certify that on June 17, 2020, a copy of the foregoing was filed electronically. Notice
of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing. Parties may access this filing
through the Court’s system.

                                              /s/Craig C. Fishbein
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